          Case 1:21-cv-01695-RAH Document 2 Filed 08/13/21 Page 1 of 2




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                       BID PROTEST

                                                )
 BLUE ORIGIN FEDERATION, LLC,                   )
                                                )
                        Plaintiff,              )                       21-1695 C
                                                )          Case No. ______________
        v.                                      )
                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
                        Defendant.              )


                           RULE 7.1 DISCLOSURE STATEMENT


       Pursuant to Rule 7.1(a) of the Rules of the United States Court of Federal Claims (RCFC),

Blue Origin Federation, LLC (Blue Origin), hereby states as follows:

       (a)    Blue Origin has no parent corporation and no publicly held corporation owns 10%

or more of Blue Origin’s stock. Blue Origin’s immediate owner is Blue Origin Enterprises, L.P.,

and its highest level owner is Explore Holdings, LLC.


Date: August 13, 2021



                                             Respectfully submitted;


                                             ___________________

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         Case 1:21-cv-01695-RAH Document 2 Filed 08/13/21 Page 2 of 2




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